The Honorable Claire C. McCaskill Missouri State Auditor 224 State Capitol Building Jefferson City, MO  65101
Dear Auditor McCaskill:
By letter dated July 30, 2001, you have submitted a fiscal note and fiscal note summary prepared pursuant to Section 116.175, RSMo, concerning the proposed constitutional amendment passed by the General Assembly (House Joint Resolution No. 11). The fiscal note summary which you submitted is as follows:
  The estimated fiscal impact of this proposed measure to state and local governments is $0, any costs or savings are dependent on the nature and requirements of subsequent enactments made by the city of St. Louis.
Pursuant to Section 116.175, we approve the legal content and form of the fiscal note summary.  Since our review of the fiscal note summary is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                                   JEREMIAH W. (JAY) NIXON Attorney General